Case 3:23-mc-00007-NJR Document 2 Filed 01/17/23 Pageiof5 Page ID#1

AO 4351 (Rev. 12/12) Clerk's Certitication of a Judgment to be Registered in Another District

LOGISTICS RESOURCE SOLUTIONS, INC.

UNITED STATES DISTRICT COURT

for the
Southern District of Florida

Vv

Defendant

| certify that the attached judgment is a copy of a judgment entered by this court on fdate) 07/21/2022 _

FILED—

JAN 17 2023

CLERK, U.S. DISTRICT COURT
SOUTHERN DISTRICT OF ILLLINOIS
E. ST. LOUIS OFFICE

Civil Action No. 21-21573-CIV-LENARD/LOUIS
1A-wce- b000T- NIR

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending

before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer

pending.

Date:

Oct 4, 2022

tified tobeatueand —
Slates ofthe document on file
Angela E. Noble,.Clerk,
iS, District Court
Souther District of Florida
—

—_

Se et cance
Ce Deputy Clerk

Date afoita0 2 ___—

CLERK OF COURT

s/Ketly Pierre

Signature of Clerk or Deputy Clerk
. Case 3:23-mc-00007-NJR Document 2 Filed 01/17/23 Page 2of5 Page ID #2
Case 1:21-cv-21573-JAL Document 237 Entered on FLSD Docket 07/21/2022 Page 1 of 3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 21-21573-CIV-LENARD/LOUIS
RYDER TRUCK RENTAL, INC.
Plaintiff,
Vs.
LOGISTICS RESOURCE SOLUTIONS, INC.,

Defendant.

CONSENT JUDGMENT

3.15 wc- OWE NIC

Certified to be 4 true and
correct Copy of the documeAt on‘file
Angela &. Noble; Clerk,

U.S..District Court

ee Deputy Clerk
Date LO fO02-2. _

Plaintiff Ryder Truck Rental, Inc. (“Ryder’’) and Defendant Logistics Resource Solutions, Inc.

(“LRS”), having settled this action on terms agreeable to all parties, and it is hereby ORDERED,

ADJUDGED and DECREED as follows:

L. LRS has stipulated to, and the Court finds that LRS has admitted to, the

following:

a. Ryder and LRS entered into the Truck Lease and Service Agreement (“TLSA”) on

April 11, 2014 for the lease of certain commercial vehicles. A true and accurate copy

of this contract was submitted as Exhibit | to Ryder’s Complaint and is incorporated

herein by reference.

b. Ryder and LRS entered into numerous contracts (“Rental Agreements”) for the rental

of commercial vehicles by LRS from Ryder. An example Rental Agreement was

submitted as Exhibit 2 to Ryder’s Complaint and is incorporated herein by reference.

c. Ryder fully performed and/or tendered performance under the TLSA and Rental

Agreements and LRS has failed to timely pay all amounts owing in accordance with

the terms of those contracts. Consequently, LRS breached the terms of the contracts

and Ryder has been harmed by those breaches.
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d. On or about March 12, 2021, Ryder filed a lawsuit against LRS for breach of the
TLSA and Rental Agreements styled Ryder Truck Rental, Inc. v. Logistics Resource
Solutions, Inc., in the Circuit Court of the Eleventh Judicial Circuit, in and for Miami-
Dade County, Florida, which was later removed to the United States District Court
for the Southern District of Florida, Case No. 1:21-CV-21573-JAL.

e. LRS understands that, in its Complaint, Ryder is seeking its actual damages as a
result of Defendant’s conduct, prejudgment and postjudgment interest, and attorneys’
fees and expenses.

f. Defendant consents to entry of judgment in the amount of Four Million, Thirty-Five
Thousand Seven Hundred Eighty-seven dollars and Zero cents ($4,035,787.00).

2, Judgment is hereby entered against Logistics Resource Solutions, Inc., whose
principal address is 1600 Wayne Lanter Drive, Madison, IL 62060, and in favor of Ryder Truck
Rental, Inc., whose principal address is 11690 NW 105 St., Miami, FL 33178 in the amount of
$ 4,035,787.00, which sum shall bear interest computed from the date of entry of this Judgment

at the rate prescribed by 28 U.S.C. § 1961, as amended, and for which sum let execution issue

forthwith.
3. The parties shall bear their own costs and attorneys’ fees.
4, Logistics Resource Solutions, Inc., has filed a voluntary dismissal of all

counterclaims pursuant to Rule 41(a)(1)(ii) Federal Rule of Civil Procedure.

5. Logistics Resources Solutions, Inc. has filed an unopposed motion for voluntary
dismissal pursuant to Rule 42(b) of the Federal Rules of Appellate Procedure of Appeal No. 22-
12073 pending in the U.S. Court of Appeals for the Eleventh Circuit.
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6. This Consent Judgment constitutes a Final Judgment pursuant to Federal Rule of

Civil Procedure 58.

IT IS SO ORDERED.
Dated: July 21, 2022 Npre ON Tena —
Wénorable Judge Joan A. Lenard
United States District Court
Date: July 21, 2022 Respectfully submitted,

By: /s/ Jamie Zysk Isani By: /s/ Kenneth D. Cooper

Samuel A. Danon (FBN 0892671) KENNETH D. COOPER, ESQUIRE

Jamie Zysk Isani (FBN 728861) Florida Bar No. 362166

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jisani@huntonak.com
Counsel for Plaintiff, Ryder
Truck Rental, Inc.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF ILLINOIS

LANTER DELIVERY SYSTEMS, LLC,

assignee of RYDER TRUCK RENTAL, INC.,
Case No. 2-297 w0- 0000 |- NIK

Plaintiff,
VS.

LOGISTICS RESOURCE SOLUTIONS, INC.

,

Defendant.

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MEMORANDUM REGARDING ASSIGNMENT OF JUDGMENT
TO LANTER DELIVERY SYSTEMS, LLC

The Consent Judgment entered in the United States District Court for the Southern District
of Florida and certified for registration in another district being filed herewith for registration in
this Court was assigned by plaintiff/judgment creditor Ryder Truck Rental, Inc. to Lanter Delivery

Systems, LLC on July 26, 2022.

Respectfully submitted,

THOMPSON COBURN LLP

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Attorney for Plaintiff Lanter Delivery Systems,
LLC
